Case 4:14-cv-03206 Document 62 Filed on 04/20/18 in TXSD Page 1 of 2

IN THE UNITED STATES COURT OF APPEAL
FOR THE FIFTH CIRCUIT “indepen

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APR 2 0 2018
No. 16-20174 David J. bradley, Clerk of Court
4:14-CV-3206
ARIANA M.,
A True Copy
Plaintiff — Appellant Certified order issued Apr 20, 2018
Duk W. Cones

Vv. Clerk, U.S. Court of Appeals, Fifth Circuit

HUMANA HEALTH PLAN OF TEXAS, INCORPORATED,

Defendant — Appellee

 

Appeal from the United States District Court
for the Southern District of Texas

 

Before STEWART, Chief Judge, and JOLLY*, JONES, SMITH, DENNIS,
CLEMENT, PRADO*, OWEN, ELROD, SOUTHWICK, HAYNES, GRAVES,
HIGGINSON, and COSTA, Circult Judges.

PER CURIAM:

 iITis ORDERED that Appellant’s motion to transfer consideration of
attorney's fees on appeal to the district court is GRANTED.

*Judge Jolly, now a Senior Judge of this court, participated in the consideration of this en banc case.
Judges Willett and Ho were not on the court when this case was heard en banc, Judge Prado wasa
member of the original panel but retired from the Court on April 2, 2018, and, therefore did not
participate in this decision.

 
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United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

April 20, 2018

MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:

No. 16-20174 Ariana M. v. Eyesys Vision Inc. Plan
USDC No. 4:14-CV-3206

Enclosed is an order entered in this case.

Sincerely,

LYLE W. CAYCE, Clerk
fEEPAW Aye nk

By:

Jann M. Wynne, Deputy Clerk

504-310-7688

 

Mr. David J. Bradley, Clerk
Mr. Jeffrey Hahn

Ms. Lisa S. Kantor

Mr. Joseph Ross Matetich

Ms. Cynthia Morales

Ms. Rachael Kelly Padgett
Mrs. Alicia M. Paulino-Grisham
Mr. Amar B. Raval

Mr. Peter S. Sessions

Ms. Mary Ellen E. Signorille
Mr. Carlos Ramon Soltero

Mr. Thomas Tso
